       Case 2:18-cv-01457-GEKP Document 12 Filed 06/29/18 Page 1 of 3




 1   Crystal-Lenene: Lewis
     c!o 731 Irvington Place
 2   Chester, Pennsy:vania [19013]
     610-742-6128
 3

 4                   UNITED STATES ()!5//!_tc__f" . COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 5

 6
                                                                       FILED
     CRYSTAL LENENE LEWIS, Sui Juris                                   JUN 2 9 201!J
 7                                              No: 18-1457
                     PLAIN I FF                                    ~.~N,Clerk
 8                                                                 &JY.-~~~-...:IDep. Clerk
                                                Re:
 9                                                   PLAINTIFF'S RESPONSE TO
     U.S. BANK/HOME EQUITY TRUST 2004-7         DEFENDANT'S MOTION TO DISMISS THE
10   OCWEN LOAN SERVICING, LLC                    COMPLAINT FOR FAILURE TO STATE
     UDREN LAW OFFICES                          CLAIM PURSUANT TO FEDERAL RULES OF
11   MERS & MERSCORP                                 CIVIL PROCEDURE (Doc #5)
     STERN & EISENBERG, PC                             12 (b) (1) and 12 (b) (6)
12   OTHER DEFENDANTS' NAMES
     AND JOHN DOES (Investors) 1-lOK,
13   U.S. BANK, N.A./AFFILATES
14                   DEFENDANT ( s)             Judge: Hon. GENE E.K. PRATTER

15

16                             PLAINTIFF'S RESPONSE
        TO DEFENDANT'S MOTION TO DISMISS THE COMPLAINT PURSUANT TO FEDERAL
17                RULES OF CIVIL PROCEDURE 12(b) (1) and 12(b) (6)

18
           Crystal-Lenene: Lewis, Sui Juris, Plaintiff is before this court
19

20   by Special Appearance and Special Deposit without waiving any Equitable

21   or Legal Rights, Remedies or Defenses Statutory or Procedural as the

22   Donor-Grantor Beneficiary of the Deed of Trust that has been Fraudulent

23   and Wrongfully Foreclosed upon, doing business as CRYSTAL LENENE LEWIS
24   and alleges that there is no Plain, Speedy or Adequate Remedy at law
25
     and that these proceedings could irreparable damage rights to tile,
26
     land property and interest on a Private Trust established by Special
27
     Deposit before the courts.
28




                                          -1-
       Case 2:18-cv-01457-GEKP Document 12 Filed 06/29/18 Page 2 of 3




          The Plaintiff's Complaint not only meets but exceeds the standards
     governing the form of a complaint contemplated by Federal Rule of Civil
 2
     Procedure 8(a), this Court has subject matter jurisdiction in this
 3   matter, and the Complaint sufficiently alleges consunter harm and
 4   damages. Accordingly, Defendants' motion should be DE:NIED.

 5
     Dated:   June 24, 2018
 6

 7                                       Respectfully Submitted by Special Deposit;
 8

 9
                                                                       -Len•eine: Lewi;;::::>~ .Juris
10                                                                      c/o 731 Irvington Place
                                                                  Chester, Pennsylvania [19013]
11                                                                                   610-742-6128
12
                                                                                 All Rights Reserved
13

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15
               F\l.ED
                        L9 1.{l\S    PROOF OF SERVICE OF DOCUMENT
16               JUN
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              .Ji Al,          ,, C.\eTK
17   I, CRYSTAnvL              ~rs, Plaintiff, certify that a copy of the MOTION
     .for PLAI~         SPONSE TO DEFENDANT'S "MOTION TO DISMISS THE
18   COMPLAINT PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE 12(b) (l)and
     12(b) (6)" was mailed by regular USPS mail on June 25, 2018 to Attorneys
19   for Defendants:
20
                           STRADLEY RONON STEVENS & YOUNG, LLP
21                         ATTN: L. JOHN VASSALOTTI
                           200E Market Street, Suite
22                         Philadelphia, PA 19103

23

24

25

26

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28                       Equity will take jurisdiction to avoid a multiplicity of suits;
                        Equity will not allow a statute to be used as a cloak for fraud



                                                      -2-
                                          Case 2:18-cv-01457-GEKP Document 12 Filed 06/29/18 Page 3 of 18-CV-1457
                                                                                                       3
JS 44 (Rev. 06/17)
                                                                                           CIVIL COVER SHEET
The ~S 44 civil cover sheet and the mformat1on contamed herem neither replace nor supplement the filmg and service of pleadin~s or other papers as required by law, except as
provided by lo~. rules of.court. Tlus form, approved by the Jud1c1al Conference of the Umted States m September 1974, 1s required for the use of the Clerk of Court for the
purpose of m1tiatmg the CIVIi docket sheet (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

I. (a) PLAINTIFFS                                                                                                                DEFENDANTS
    CRYSTAL LENENE LEWIS                                                                                                        U.S. BANK N.A. and AFFILATES

           (b)
                                                                                                                                                                              .                        ,.....n.,,.Ji
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                 County of Residence of First Listed Plaintiff                        DELAWARE                                   County ofRes1dence ofF1rst L1stedJ;Wf~d~\(l              I- :.t_,:........:. ·__                    __
                                         (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                           (IN U.S PLAimJiF CASES ONLY)
                                                                                                                                 NOTE       IN LAND CONDEMNATION CASES, USE THE ~ION OF
                                                                                                                                            THE TRACT OF LAND INVOLVED   .- ' (' • ! l1f°'; '-
                                                                                                                                                                                                      ': p   ~~- ""·'"'().§\

           (C)   Attorneys (Firm Name, Address. and Telephone Number)                                                             Attorneys (If Known)
    Crystal-Lenene: Lewis, Sui Juris                                                                                           STRADLEY RONON STEVENS & YOUNG, LLP
    c/o 731 Irvington Place, Chester, Pennsylvania                                     [19013]                                 Attn: L. John Vassaotti, Ill
    610-742-6128                                                                                                               2005 Market Steet, Suite 2600'; Phila, PA 19103
II. BASIS OF JURISDICTION (Place an '"X"' mOneBoxOnlyJ                                                            III. CITIZENSIDP OF PRINCIPAL                                        PARTIESrPlacean '"X"';nOnefJaxforPtamtiff
                                                                                                                             (For Diversity Cases Only)                                           and One Bax far Defendant)
Cl I           U .S Government                     LI 3 Federal Question                                                                                     PTF      DEF                                                      PTF        DEF
                  Plaintiff                                    (US. Government Not a Party)                           Citizen of llus State                  n J      LI I           Incorporated or Pnnc.ipal Place           LI 4       CJ 4
                                                                                                                                                                                       of Busmess In This State

CJ 2           U .S Government                     LI 4    Diversity                                                  Citizen of Another State               LI 2        CJ    2     Incorporated and Principal Place          CJ         LI 5
                  Defendant                                    (Indicate C11tzenship of Pames in Item Ill)                                                                              of Busmess In Another State

                                                                                                                      C1t1zen or Subject of a                lJ 3        3           Foreign Nat10n                             r1 6      LI 6
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    IV NATUREOFSUIT (Place an "X" in One Box Only)
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    LI     II 0 Insurance                         PERSONAL INJURY                         PERSONAL INJL'RY            LI 625 Drug Related Seizure               o    422 Appeal 28 use 158         LI 375 False Chums Act
    LI     120Manne                            LI 310 Airplane                         CJ 365 Personal Injury -              of Property 21USC881               LI   423 Withdrawal                o 376 Qm ram (3 I use
    LI     130 Miller Act                      LI 315 Auplane Product                         Product L1ab1hty        ::J 6900ther                                       28 USC 157                        3729(a))
    LI     140 Negotiable Instrument                   L1ab1hty                        LI 367 Health Care/                                                                                         LI 400 State Reappomonment
    LI     150 Recovery of Overpayment         CJ 320 Assault, Libel &                        Phannaceutlcal                                                         PROPERTY;RTGHTS               CJ 410 Antitrust
                & Enforcement of Judgment               Slander                               Personal Injury                                                   CJ   820 Copynghts                 LI 430 Banks and Bankmg
    Cl     151 Medicare Act                    CJ 330 Federal Employers'                      Product Liab1hty                                                  CJ   830 Patent                    CJ 4 50 Commerce
    CJ     152 Recovery of Defaulted                    L1ab1hty                       n 368 Asbestos Personal                                                  lJ   835 Patent · AbbreVJated      a 460 Deportation
                Student Loans                  LI 340Manne                                    Injury Product                                                             New Drug Application      Cl 470 Racketeer Influenced and
                (Excludes Veterans)            LI 34 5 Manne Product                          Ltab1hty                                                          CJ   840 Trademark                         CorruptOrgaruzatJons
    :."l   153 Recovery of Overpayment                 L1abihty                          PERSONAL PROPERTY                           LABOR'                          SOCIAL SEC '"' ·v        •. • LI 480 Consumer Credit
                of Veteran's Benefits          CJ 350 Motor Velncle                    LI 370 Other Fraud              0    710 Fan Labor Standards             LI   861 HIA (1395fi)              LI 490 Cable/Sat TV
    LI     160 Stockholders' Swts              CJ 355 Motor Vehicle                    LI 371 Truth m Lendmg                     Act                            LI   862 Black Lung (92.3)         CJ 850 SecurttJes/Commoditles/
    CJ     190 Other Contract                          Product L1ab1hty                LI 380 Other Personal           CJ   720 Labor/Management                0    863 DIWC/DIWW (405(g))                Exchange
    LI     195 Contract Product Liabihty       LI 360 Other Personal                          Property Damage                   Relations                       LI   864 SSID fttle XVI            LI 890 Other StatutOly Actions
    CJ     I 96 Franchise                              Injury                          Cl 385 Property Damage          0    740 Railway Labor Act               LI   865 RSI (405(g))              CJ 891 Agncultural Acts
                                               LI 362 Personal In.Jury -                      Product L1abiltty        LI   751 FamdyandMedical                                                    LI 893 Environmental Matters
                                                       Medical Maloractlce                                                       Leave Act                                                         LI 895 Freedom of Infonnatlon
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    LI
               ~REALJPROP1'RTY"
           210 Land Condemnation
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                                               CJ 440 Other Civil Rights
                                                                                        PRISONER PETITIONS~            LI
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                                                                                                                                                                      FEDERAi:; T~SUITS
                                                                                                                                                                     870 Taxes (lJ S Plamtlff
                                                                                                                                                                                                           Act
                                                                                                                                                                                                   Cl 896 Arbitration
                                                                                          Habeas Corpus:
    LI     220 Foreclosure                     LI 441 Voong                            LI 463 Ahen Detamee                      Income Secunty Act                        or Defendant)            r1 899 Adrrumstratlve Procedure
    0      230 Rent Lease & E3ectment          Cl 442 Employment                       CJ 5I 0 Motions to Vacate                                                CJ   871 IRS- -Thmi Party                  Act/Review or Appeal of
    Cl     240 T Orts to Land                  CJ 443 Housing/                                 Sentence                                                                   26 use 7609                      Agency Decision
    CJ     245 Tort Product L1ab1hty                   Accommodations                  0 530 General                                                                                               CJ 950 Const1tutlonal1ty of
    CJ     290 All Other Real Property         LI 445 Amer w/D1sabthnes ·              CJ 535 Death Penalty                   IMMIGRATION                                                                  State Statutes
                                                       Employment                         Other:                       LI 462 Naturalization Apphcatlon  '
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                                                  446 Amer w/D1sabiht1es -             0 540 Mandamus & Other          CJ 465 Other Imm1grat1on
                                                       Other                           CJ 550 Civil Rights                    Actions
                                               0 448 Education                         LI 555 Pnson Condition
                                                                                       Cl 560 Civil Detainee •
                                                                                               Condinons of
                                                                                               Confinement
    V. ORIGIN (Placean "X"tnOneBaxOnly)
    0 1 Original                 0 2 Removed from                        0        3    Remanded from              CJ 4 Reinstated or       0    5 Transferred from                   0 6 Multid1stnct                 0 8 Multidistrict
        Proceeding                   State Court                                       Appellate Court                 Reopened                   Another District                       L1ttgatton -                     Litigation -
                                                                                                                                                  (specify)                              Transfer                         Direct File
                                                       <¢~8f, ~{bf~9=~eS1nder which you are fihng (Do 1101 cite jurisdictional stl11utes 1111/ess diversity}

    VI. CAUSE OF ACTION 1-Bn-et:-de-,..-cr'-ipt_to_n-of_CJt_us_c::._·- - - - - - - - - - - - - - - - - . - - - - - - - . - - - . - . - -
                                                          Plamt1tt request tor t:.xtension of Time to File Response to Defendents "Notice of Removal & Motion to D1sm1ss"
     VII. REQUESTED IN     0                                 CHECK IF TIIlS IS A CLASS ACTION                               DEMAND $                                               CHECK YES only if demanded m complaint.
          COMPLAINT:                                         UNDER RULE 23, F R.Cv.P                                           100,000,000                                         JGRY DEMAND:        @Yes      @No
     VIII. RELATED CASE(S)
                                                           (See mstntctions)
                 IF.ANY                                                                JUDGE                                                                         DOCKET NUMBER
     DATE                                                                                 SIGNATURE OF ATTORNEY OF RECORD

     FOR OFFICE L'SE ONLY
           RECEIPT#                       AMOUNT                                              APPL YING 1FP                                     JUDGE                                        MAG JUDGE
